                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                                 AT KANSAS CITY

MICHAEL CHESSCHER                           )
                                            )
                                            )
On Behalf of Himself and                    )
All Others Similarly Situated,              )
                                            )
       Plaintiff;                           )
                                            )
vs.                                         )       Case No. 19-cv-749
                                            )
PYRAMID EXCAVATION AND                      )
CONSTRUCTION, INC.                          )
                                            )
Registered Agent:                           )
                                            )
William A. Clark                            )
11102 Hickman Mills Dr.                     )
Kansas City, MO 64134                       )
       Defendant.                           )

                                 AMENDED COMPLAINT
                    Collective Action Under the FLSA and Wage-Related
                         Class Claims Pursuant to Fed. R. Civ. P. 23

       COMES NOW Michael Chesscher, on behalf of himself, and all others similarly

situated, by and through counsel, and hereby sets forth his individual and representative

claims for violation of the Fair Labor Standards Act under 29 U.S.C. §216(b) and his

individual and representative wage-related class claims pursuant to Fed. R. Civ. P. 23, as

follows:


                             PRELIMINARY STATEMENT

1.     Plaintiff brings this action against Defendant Pyramid Excavation and

       Construction, Inc., (hereinafter “Pyramid” or “Defendant”) for unpaid overtime

       compensation and related penalties and damages.           Pyramid predominantly




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 1 of 19
      provides construction services in the region, and across the country. Defendant's

      practice and policy is to willfully fail and refuse to properly pay straight time and

      overtime compensation due Plaintiff, and all other similarly situated employees,

      who work for Defendant.

2.    Until February 2017, Defendant failed to pay Plaintiff for all hours worked. For

      example, if Plaintiff worked 43 hours in a workweek, Defendant would not pay

      Plaintiff for all of those hours. Instead, Defendant systematically and substantially

      reduced Plaintiff’s hours for which he was compensated. Doing so denies such non-

      exempt employees compensation for all work performed and overtime pay and is

      in direct violation of the Fair Labor Standards Act, 29 U.S.C. §201 et seq. (FLSA)

      and gives rise to wage-related class claims pursuant to Fed. R. Civ. P. 23.

3.    Defendant's practices are in direct violation of the FLSA and provide the basis for

      wage-related class claims pursuant to Fed. R. Civ. P. 23 and Plaintiff seeks

      compensation for work performed, overtime premiums for all overtime work

      required, suffered, or permitted by Defendant; liquidated and/or other damages as

      permitted by applicable law; and attorney’s fees, costs, and expenses incurred in

      this action.

                                       PARTIES

4.    Plaintiff Michael Chesscher currently resides in the state of Missouri. Plaintiff

      worked at Pyramid’s place of business located in Kansas City, Missouri. Others

      similarly situated for the purposes of this collective and/or class action, also work

      and/or worked at Defendant’s location in Missouri as non-exempt employees.




     Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 2 of 19
5.     Plaintiff Chesscher was employed by the Defendant until approximately October

       of 2017. During this time frame, Mr. Chesscher performed work in the position of

       laborer.

6.     Defendant is a Missouri Corporation, doing business in the State of Missouri and

       throughout the United States, with its principal place of business in Kansas City,

       Missouri.

                                JURISDICTION AND VENUE

7.     This Court has original federal question jurisdiction under 28 U.S.C. § 1311 for the

       claims brought under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et

       seq.

8.     The United States District Court for the Western District of Missouri has personal

       jurisdiction because Defendant conducts business within this District.

9.     This Court has jurisdiction over Plaintiffs' state law claims pursuant to 28 U.S.C. §

       1367 because these state claims are so related to the FLSA claims that they form

       part of the same case or controversy.

10.    Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), inasmuch as the

       Defendant has offices, conducts business and can be found in the Western District

       of Missouri, and the cause of action set forth herein has arisen and occurred in part

       in the Western District of Missouri.      Venue is also proper under 29 U.S.C.

       §1132(e)(2) because Defendant has substantial business contacts within the

       Western District of Missouri.

11.    At all relevant times, Defendant has been an “employer” engaged in interstate

       “commerce” and/or in the production of “goods” for “commerce” within the




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 3 of 19
       meaning of the FLSA, 29 U.S.C. §203. At all relevant times, Defendant has

       employed “employee[s],” including the putative representative action plaintiff and

       those persons situated similarly to the Plaintiff as described herein. At all relevant

       times, Plaintiff and the other members of the class were engaged in commerce

       and/or worked for Defendant, which was an enterprise engaged in commerce. At

       all times relevant herein, Defendant has had gross operating revenues in excess of

       $500,000.00 (Five Hundred Thousand Dollars).

                    COLLECTIVE AND CLASS ALLEGATIONS

12.    Plaintiff held the position of laborer.

13.    Plaintiff and other similarly situated hourly non-exempt employees were required

       to perform work in excess of forty (40) hours per week as an integral and

       indispensable part of the principle activities of performing their jobs. Defendant

       failed and compensate employees for this time.

14.    Such work and waiting time is integral and indispensable part of the principle

       activities of Plaintiff's job.

15.    Said work caused Plaintiff to work in excess of forty (40) hours per week.

16.    Plaintiff was not properly compensated for this work at the applicable rate of pay.

17.    Upon information and belief, the Defendant employs/employed other employees

       situated similarly to the Plaintiff, who, like the Plaintiff, are/were required to

       perform work in excess of forty (40) hours per week, but were not paid for all of

       those hours at either straight time or overtime rates.

18.    Plaintiff and the other similarly situated hourly non-exempt employees were

       improperly compensated under the FLSA, applicable state wage statutes, including




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 4 of 19
       without limitation Mo. Rev. Stat. § 290.500, et seq, and common law. All such

       other employees are hereinafter referred to as the “similarly situated" or the

       “putative representative action plaintiffs” or “putative class members.”

19.    These "similarly situated" employees were not properly compensated for their work

       at the legal and proper rate of pay, including minimum wages as mandated by the

       FLSA and Missouri wage law.

20.    The FLSA requires each covered employer, such as Defendant, to compensate all

       non-exempt employees for services performed and to compensate them at a rate of

       not less than one and one-half times the regular rate of pay for work performed in

       excess of forty hours in a work week.

21.    All similarly situated employees working for Defendant are similarly situated in

       that they all are required to perform work in excess of forty (40) hours per week as

       an integral and indispensable part of the principle activities of performing their job,

       and were not paid for all their hours of work at straight time and/or overtime rates.

22.    All similarly situated employees are similarly situated in that they are all subject to

       Defendant's same compensation policies and plan that requires these employees to

       perform work without compensation as an integral and indispensable part of the

       principle activities of performing their job. In turn, these practices deny similarly

       situated employees minimum wage and overtime compensation.

23.    The quantum meruit claims are brought against Defendant under Rule 23 of the

       Federal Rules of Civil Procedure as a Missouri class action. The Class in said class

       action consists of all current and former hourly employees who were required to

       work without compensation.        Plaintiff, on behalf of other similarly situated




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 5 of 19
       employees, seeks relief on a class basis challenging Defendant’s failure to pay the

       Class for all hours worked and overtime wages.

24.    The unjust enrichment claims are brought against Defendant under Rule 23 of the

       Federal Rules of Civil Procedure as a nation-wide class action. The Class in said

       class action consists of all current and former hourly employees who were required

       to work without compensation. Plaintiff, on behalf of other similarly situated

       employees, seeks relief on a class basis challenging Defendant’s failure to pay the

       Class for all hours worked and overtime wages.

25.    The Breach of Contract claims are brought against Defendant under Rule 23 of the

       Federal Rules of Civil Procedure as a nation-wide class action. The Class in said

       class action consists of all current and former hourly employees who were subject

       to a collective bargaining agreement with Defendant, and who were required to

       work without compensation.       Plaintiff, on behalf of other similarly situated

       employees, seeks relief on a class basis challenging Defendant’s failure to pay the

       Class for all hours worked and overtime wages.

26.    The Missouri Wage and Hour claims (Mo. Rev. Stat. § 290.500, et seq.) are brought

       against Defendant under Rule 23 of the Federal Rules of Civil Procedure as a

       Missouri state-wide class action consisting of all current and former hourly

       employees who were required to work without compensation. Plaintiff, on behalf

       of other similarly situated employees, seeks relief on a class basis challenging

       Defendant’s failure to pay the Class for all hours worked and overtime wages who

       have worked for Defendant at any time during the last three years. Plaintiff,

       individually and on behalf of other similarly situated employees, seeks relief on a




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 6 of 19
       class basis challenging Defendant’s failure to pay the Class for all hours worked

       and overtime wages.

27.    Plaintiff brings Count I (FLSA) as an “opt-in” collective action pursuant to 29

       U.S.C. § 216(b). Plaintiff, individually and on behalf of other similarly situated

       employees, seeks relief on a collective basis challenging Defendant’s practices of

       failing to pay Plaintiff and others similarly situated for all hours worked, including

       overtime hours. The class for the FLSA claims is defined as:

               All current and former hourly non-exempt employees of
               Defendant who were not paid for all hours worked, including
               overtime hours.


28.    Pursuant to 29 U.S.C. § 216(b), FLSA claims may be pursued by those who opt-in

       to this case.

29.    Plaintiff, bring Count I, individually and on behalf of other similarly situated

       employees, seeks relief on a collective basis challenging, among other FLSA

       violations, Defendant’s practice of failing to accurately record hours worked by the

       Plaintiff and by other similarly situated employees and Defendant’s practice of

       failing to pay Plaintiff and other similarly situated employees for all hours worked

       at a proper, legal rate, including minimum wage and/or overtime compensation.

       The number and identity of other plaintiffs yet to opt-in and consent to be party-

       plaintiffs may be determined from the records of Defendant, and potential party-

       plaintiffs may easily and quickly be notified of the pendency of this action.

30.    Plaintiff brings Count II (unjust enrichment), , et seq.), Count III (violation of

       RSMo. §290.500, et seq., Count IV (Quantum Meruit), and Count V (Breach of

       Contract), as class actions pursuant to Rule 23 of the Federal Rules of Civil




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 7 of 19
       Procedure against Defendant.      Plaintiff, individually and on behalf of other

       similarly situated employees, seeks relief on a class basis challenging Defendant’s

       practice of requiring unrecorded and unpaid work and failing to pay Plaintiff and

       other similarly situated employees for overtime hours worked.           The Rule 23

       classes are each defined as:

             All current and former hourly non-exempt employees who
             were employed by the Defendant during the past five years
             and who performed work without proper compensation.

31.    Plaintiff brings Count III (Mo. Rev. Sta. § 290.500, et. seq.), as class actions

       pursuant to Rule 23 of the Federal Rules of Civil Procedure against Defendant.

       Plaintiff, individually and on behalf of other similarly situated employees, seeks

       relief on a class basis challenging Defendant’s practice of requiring unpaid work

       and failing to pay Plaintiff and other similarly situated employees for overtime

       hours worked. The Rule 23 classes are each defined as:

32.    Plaintiff's state law claims against Defendant satisfy the numerosity, commonality,

       typicality, adequacy, and superiority requirements of a class action.

              All current and former hourly non-exempt employees who
             were employed by the Defendant during the past five years
             and who performed work without proper compensation.

33.    The Rule 23 classes satisfy the numerosity standards on the good faith belief that

       each class will number over one-hundred. As a result, joinder of all class members

       in a single action is impracticable.    Class members may be informed of the

       pendency of this class action through direct mail.

34.    There are questions of fact and law common to the classes, between classes and

       within each class, which predominate over any questions affecting individual




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 8 of 19
       members. The questions of law and fact common to the classes arising from

       Defendant’s actions include, without limitation, the following:

       a.     Whether class members were compensated for time spent performing work-

              related tasks;

       b.     Whether Defendant’s compensation policies and practices properly (if at

              all) account for the time class members were actually working;

       c.     Whether Defendant knew or had reason to know such policies and

              compensation practices were unlawful, and

       d.     Whether Defendant retained a benefit from such unlawful policies and

              compensation practices.

35.    The aforementioned common questions predominate over any questions affecting

       individual persons, and a class action is proper as it will achieve and promote

       consistency, economy, efficiency, fairness, and equity.

36.    The claims of Plaintiff are typical of those of each Class in that class members have

       been employed paid pursuant to the same compensation structure as the Plaintiff

       acting as putative Class Representative and were subject to the same or similar

       unlawful practices as the Plaintiff acting as putative Class Representative.

37.    A class action is the appropriate method for the fair and efficient adjudication of

       this controversy. Defendant has acted or refused to act on grounds generally

       applicable to the classes. The presentation of separate actions by individual class

       members would create a risk of inconsistent and varying results, risk the

       establishment of incompatible standards of conduct for Defendant, and/or

       substantially impair or impede the ability of class members to protect their interests.




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 9 of 19
38.    The Plaintiff, acting as putative Class Representative, is an adequate representative

       of the classes because his interests do not conflict with the interests of the members

       of the classes he seeks to represent. The interests of the members of the classes

       will be fairly and adequately protected by the Plaintiff acting as Class

       Representative and his undersigned counsel, who has experience in employment

       and class action lawsuits.

39.    Maintenance of this action as a class action is a fair and efficient method to resolve

       this controversy. It would be impracticable and undesirable for each member of

       the classes who suffered harm to bring a separate action.          Furthermore, the

       maintenance of separate actions would place a substantial and unnecessary burden

       on the courts and could result in inconsistent adjudications, while a class action can

       determine the rights of all class members in conformity with the interest of

       efficiency and judicial economy.

                                    COUNT I – FLSA CLAIM

40.    Plaintiff incorporates the foregoing paragraphs 1 through and including 40 as if

       fully set forth herein.

41.    Plaintiff was employed by the Defendant in Kansas City, Missouri.

42.    Plaintiff worked without the proper compensation. For example, the week of

       September 19, 2016, Plaintiff worked, and recorded 43 hours. Yet Plaintiff was

       only compensated for 28.5 hours.

43.    Plaintiff was not properly compensated for this work at the applicable rate of pay.

44.    Plaintiff was treated as non-exempt employee by the Defendant under the FLSA.

45.    Like the Plaintiff, the Defendant employs/employed other who are/were required




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 10 of 19
       to perform work without full compensation, and were treated as non-exempt

       employees under the FLSA.         All such employees are hereby referred to as

       “similarly situated" employees, or “putative class members.”

46.    The FLSA requires each covered employer, such as Defendant, to compensate all

       non-exempt employees for services performed and to compensate them at a rate of

       not less than one and one-half times the regular rate of pay for work performed in

       excess of forty hours in a work week.

47.    All similarly situated employees are similarly situated in that they are all subject to

       Defendant's same compensation policies and plan that requires these employees to

       perform work without compensation. In turn, this denies similarly situated facility

       employees their minimum wage and/or overtime compensation.

48.    Plaintiff brings this Complaint as a collective action pursuant to 29 U.S.C. §216(b)

       of the FLSA, on behalf of all persons who were, are, or will be employed by the

       Defendant as similarly situated employees within three years from the

       commencement of this action who have not been compensated for their time, who

       have not been compensated at the proper minimum wage and/or one and one-half

       times the regular rate of pay for all services performed in excess of forty hours per

       week.

49.    This Complaint is being brought and maintained as an “opt-in” collective action

       pursuant to 29 U.S.C. §216(b) of the FLSA for all claims asserted by the Plaintiff

       because his claims are similar to the claims of the putative class members .

50.    The names and addresses of the putative class members are available from

       Defendant.    To the extent required by law, notice will be provided to said




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 11 of 19
       individuals via First Class Mail and/or by the use of techniques (including and a

       form of notice) similar to those customarily used in representative and collective

       actions.

51.    The Defendant failed to compensate Plaintiff and the putative class members at a

       the minimum wage, and/or a rate of not less than one and one-half times the regular

       rate of pay for work performed in excess of forty hours in a work week, and

       therefore, Defendant has violated, and continues to violate, the FLSA, 29 U.S.C.

       §§201, et seq., including 29 U.S.C. §207(a)(1).

52.    The foregoing conduct, as alleged herein, constitutes a willful violation of the

       FLSA within the meaning of 29 U.S.C. §255(a).

53.    The Plaintiff, on behalf of himself and all similarly situated employees of

       Defendant who compose the putative class, seeks damages in the amount of all

       respective unpaid minimum wages, and/or unpaid straight time plus overtime

       compensations at a rate of one and one-half times the regular rate of pay for work

       performed in excess of forty hours in a work week, plus liquidated damages, as

       provided by the FLSA, 29 U.S.C. §216(b), and such other legal and equitable relief

       as the Court deems just and proper.

54.    The Plaintiff, on behalf of himself and all similarly situated employees of

       Defendant who compose putative class , seeks recovery of all attorney fees, costs,

       and expenses of this action, to be paid by Defendant, as provided by the FLSA, 29

       U.S.C. §216(b).

       WHEREFORE, Plaintiff, on behalf of himself and all proposed class members,

prays for relief as follows:




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 12 of 19
       a.     Designation of this action as a collective action on behalf of the proposed

              putative class members and prompt Issuance of notice pursuant to 29 U.S.C.

              §216(b) to all putative class members (the FLSA opt-in class), apprising

              them of the pendency of this action and permitting them to assert timely

              FLSA claims in this action by filing individual Consents To Join pursuant

              to U.S.C. §216(b);

       b.     Designation of Plaintiff Chesscher as Representative Plaintiff, acting for

              and on behalf of the putative class members;

       c.     An award of damages for heretofore unpaid straight and overtime

              compensation due for the Plaintiff and the putative representative action

              Plaintiff;

       d.     Liquidated damages, to be paid by Defendant; or

       e.     Pre-Judgment and Post-Judgment interest, as provided by law; and

       f.     Costs and expenses of this action incurred herein, including reasonable

              attorneys’ fees and expert fees; and

       g.     Any and all such other and further relief as this Court deems necessary, just

              and proper.

                           COUNT II – UNJUST ENRICHMENT

55.    Plaintiff realleges and incorporates by reference each and every allegation and

       averment set forth in paragraphs 1 through and including 59 of this Complaint as

       though fully set forth herein.

56.    Defendant has been and is being enriched by making deficient payments for work

       performed by Plaintiff and other similarly situated employees.      Defendant has




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 13 of 19
       been and is being enriched at the expense of Plaintiff and other similarly situated

       employees because Plaintiff and others were not properly compensated for their

       work.

57.    Defendant intentionally refused to pay Plaintiff and other similarly situated

       employees at the proper rate for all hours worked and for time worked in excess of

       forty hours per week. Defendant knows or should know the proper rate of pay for

       Plaintiff and other similarly situated employees. Such wrongful conduct

       demonstrates bad faith on the part of Defendant.

58.    It is unjust for Defendant to retain the benefits from the unpaid work performed by

       Plaintiff and other similarly situated employees.

       WHEREFORE, Plaintiff, individually and on behalf of the class of individuals

whom he represents, prays for judgment against Defendant on Count II of the Complaint;

for an award of compensatory damages; pre-judgment and post-judgment interest as

provided by law; and for such other orders and further relief, including an award of costs

and attorney’s fees, as this Court deems just and equitable.

      COUNT III - FAILURE TO PAY EARNED WAGES AND OVERTIME
                      (Mo. Rev. Stat. § 290.500, et seq.)

59.    Plaintiff realleges and incorporates by reference each and every averment of this

       Complaint as though fully set forth therein.

60.    At all times material herein, Plaintiff and other similarly situated employees has

       been entitled to the rights, protections, and benefits provided under the Mo. Rev.

       Stat. § 290.500, et seq.

61.    Mo. Rev. Stat. § 290.502 regulates the payment of minimum wages and Mo. Rev.

       Stat. § 290.505 regulates the payment of overtime compensation by Missouri




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 14 of 19
       employers.

62.    Defendant is subject to the minimum wage requirements of Mo. Rev. Stat. §

       290.502 and the overtime pay requirements of Mo. Rev. Stat. § 290.505 because it

       is an employer in the state of Missouri under Mo. Rev. Stat. § 290.500(4) and

       Plaintiff and other similarly situated employees of Defendant are employees under

       Mo. Rev. Stat. § 290.500(3).

63.    Defendant violated Mo. Rev. Stat. §§ 290.502 and 290.505 by failing to properly

       pay employees for all hours worked and failing to pay employees for overtime. In

       the course of perpetrating these unlawful practices, Defendant willfully failed to

       keep accurate records of all hours worked by employees as required by Mo. Rev.

       Stat. § 290.520.

64.    Plaintiff and all similarly situated employees are victims of an unlawful entity-wide

       compensation policy. Defendant continues to apply and enforce this policy and

       thereby continues to violate Mo. Rev. Stat. §§ 290.502 and 290.505.

65.    Plaintiff and all similarly situated employees are entitled to damages equal to

       amount of unpaid wages for the unrecorded and unpaid time-worked and for

       overtime premium pay within the three years preceding the filing of this Complaint,

       plus periods of equitable tolling, because Defendant acted willfully and knew or

       showed reckless disregard for the matter of whether its conduct was prohibited.

66.    Defendant acted in bad faith and without reasonable grounds to believe its actions

       and omissions were compliant with Mo. Rev. Stat. §§ 290.502 and 290.505. As a

       result thereof, Plaintiff and other similarly situated employees are entitled to

       recover an award of liquidated damages, pursuant to Mo. Rev. Stat. § 290.505.




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 15 of 19
67.    As a result of these willful violations of the wage and overtime provisions under

       Mo. Rev. Stat. § 290.505, wages and overtime compensation have been unlawfully

       withheld by Defendant from Plaintiff and other similarly situated employees for

       which Defendant is liable pursuant to Mo. Rev. Stat. §§ 290.505; 290.527, together

       with an additional amount as liquidated damages, pre-judgment and post-judgment

       interest, reasonable attorneys’ fees and costs of this action.

       WHEREFORE, Plaintiff, and all similarly situated employees, demand judgment

against Defendant and pray for: (1) compensatory damages; (2) liquidated damages; (3)

attorneys’ fees and costs as allowed by Mo. Rev. Stat. § 290.527; (4) for prejudgment and

post-judgment interest as provided by law; and (5) for such other relief the Court deems

fair and equitable.

                         COUNT IV – QUANTUM MERUIT

68.    Plaintiff realleges and incorporates by reference each and every allegation and

       averment set forth in paragraphs 1 through and including 68 of this Complaint as

       though fully set forth herein.

69.    At Defendant's request, Plaintiff and other similarly situated employees provided

       services in the form of work for Defendant. These services had reasonable value

       and were performed at an hourly rate.

70.    Plaintiff and other similarly situated employees regularly worked off the clock, both

       before and after their recorded eight-hour shifts, without being compensated for this

       time.

71.    Defendant failed to compensate Plaintiff and other similarly situated employees the

       reasonable value of these services performed on Defendant's behalf.




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 16 of 19
       WHEREFORE, Plaintiff, individually and on behalf of the class of individuals

whom he represents, prays for judgment against Defendant on Count IV of the Complaint;

for an award of compensatory damages and for such other orders and further relief,

including an award of costs and attorney’s fees, as this Court deems just and equitable.

                       COUNT V – BREACH OF CONTRACT

72.    Plaintiff realleges and incorporates by reference each and every allegation and

       averment set forth in paragraphs 1 through and including 72 of this Complaint as

       though fully set forth herein.

73.    A collective bargaining agreement existed between the Plaintiff and Defendant and

       a similar employment agreement existed between each similarly situated employee

       and Defendant, the terms and conditions of which included a requirement for

       employees to perform services for Defendant and an agreement by Defendant to

       pay Plaintiff and other similarly situated employees at an agreed hourly rate for all

       work performed.

74.    The agreements were made between parties capable of contracting and contained

       mutual obligations and valid consideration. Plaintiff and other similarly situated

       employees have performed all conditions precedent, if any, required of Plaintiff and

       other similarly situated employees under their employment agreements.

75.    Defendant failed and refused to perform its obligations in accordance with the terms

       and conditions of its employment agreements by failing to compensate Plaintiff and

       other similarly situated employees for all time worked on behalf of Defendant.

76.    Plaintiff and other similarly situated employees were thereby damaged in an

       amount to be determined at trial.




      Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 17 of 19
WHEREFORE, Plaintiff, individually and on behalf of the class of individuals whom he

represents, prays for judgment against Defendant on Count V of the Complaint; for an

award of compensatory damages; pre-judgment and post-judgment interest as provided by

law; and for such other orders and further relief, including an award of costs and attorney’s

fees, as this Court deems just and equitable.

WHEREFORE, Plaintiff, individually and on behalf of the class of individuals whom he

represents, prays for judgment against Defendant on Count VI of the Complaint; for an

award of damages; related penalties as provided by law; and for such other orders and

further relief, including an award of costs and attorney’s fees, as this Court deems just and

equitable.




     Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 18 of 19
                         THE HODGSON LAW FIRM, L.L.C.

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                         ATTORNEYS FOR PLAINTIFF




Case 4:19-cv-00749-GAF Document 1 Filed 09/13/19 Page 19 of 19
